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IN THE UNITED sTATEs DIsTRIcT COURT <?.5` // . _
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FOR THE wEsTERN DIsTRIcT oF TENNESSEE "’?Yg§ ~~¢On
EASTERN DIVISION ' `

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UNITED STATES OF AMERICA féGgH}Wi£)
VS. NO. l:SQ-Cr~lOOOB-
SCOTT LEE HAYNES,

Defendant.

 

ORDER REFUNDING SPECIAL ASSESSMENT

 

lt appearing to the Court that the above referenced
defendant was sentenced by this honorable Court on January ll,
2000, at which time a Special Assessment in the amount of
$lO0.00 was assessed against the defendant. A Notice of Appeal
was filed by the defendant on January 18, 2000. During pendency
of the appeal, the defendant made payments to satisfy the
assessment amount on November 14, 2000; January 17, 2001; April
l'7, 2001; and July 13, 2001, totaling $lO0.00.

Pursuant to the Court of Appeals decision reversing
the District Court, the government filed a motion to dismiss
which this Court granted by way of an order entered on November
18, 2002. Accordingly, the previously paid special assessment
should be refunded to the defendant. The clerk is directed to

issue payment in the amount of $lO0.00, payable to Federal

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Bureau of Prisons, Inmate #16728-076, Scott Lee Haynes; P.O. Box
474701; Des Moines, IA; 50947-0001, in full refund of the

special assessment payment.

IT IS SO ORDERED.

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JAMEZ{/ D. TODD
Unit d States District Judge

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Notice of Distribution

This notice confirms a copy of the document docketed as number 66 in
case 1:99-CR-10008 Was distributed by faX, mail, or direct printing on
June 23, 2005 to the parties listed.

 

 

C. Mark Donahoe

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P.O. Box 98

Jackson7 TN 38302

Len Register

U.S. ATTORNEY
109 S. Highland Ave.
Jackson7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

